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       m-             14                             UNITED STATES DISTRICT COURT
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            U         17   COLONY COVE PROPERTIES, LLC,             Case No.
                           a Delaware limited liability company;
                      18                                            COMPLAINT FOR
                                        Plaintiff,
                      19                                            1. Violatioii of the Takings Clause of
                                 V.                                      the Fifth Amendment
                      20                                                 (Under 42 U.S.C. § 1983)
                           CITY OF CARSON, a municipal
                      21   corporation; CITY OF CARSON              2.   Violation of the Due Process
                           MOBILEHOME PARK RENTAL                        Clause of the Fourteenth
                      22   REVIEW BOARD, a pubhc                         Amendment
                           administrative body; and DOES 1 to 10,        (Under 42 U.S.C. § 1983)
                      23   inclusive;
                                                                    3.   Declaratory Relief
                      24                Defendants.
                                                                    AND DEMAND FOR JURY TRIAL
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                                                               COMPLAINT
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                       1         Plaintiff Colony Cove Properties, LLC ("Colony Cove") for its Complaint
                       2   against the City of Carson and the City of Carson Mobilehome Park Rental Review
                       3   Board (sometimes collectively, the "City") alleges as follows:
                       4                              JURISDICTION AND VENUE

                       5          1.    This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343,2201,2202,
                       6   and42U.S.C. § 1983.
                       7         2.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because
                       8   the City is located within this district, and a substantial part of the events and/or
                       9   omissions giving rise to Colony Cove's claims occurred in this district.
                      10                               NATURE OF THE ACTION

                      11         3.     The City's rent control restrictions have been applied against Colony
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    § O® S                 Cove in a manner that exceeds the limits of state authority under the U.S.
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                           Constitution.
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        , uj •        14         4.     In 2006, Colony Cove bought a 404-space mobilehome park in the
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                      15   City. At that time. Colony Cove had a reasonable expectation that it could profit
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    Spii              16   even under the then-existing rent control law. Thereafter, the City changed tiie rules
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                      17   for determining allowable rents. Specifically, the City stopped considering a park
                      18   owner's bona fide, third-party debt service expense incurred in connection with the
                      19   purchase of the mobilehome park in an arms-lengthmarket transaction. Based on
                      20   this change, the City then set rents at unreasonably low levels. This forced Colony
                      21   Coveto operate at a loss for over five years (sometimes at a loss exceeding $1
                      22   million per year). During this five-year timefirame. Colony Cove suffered losses of
                      23   approximately $4 million.
                      24         5.     In 2012, for the first time in five years, tiie City finally permitted
                      25   Colony Cove to earn a profit after forcing it to suffer losses year-after-year. The
                      26   profit Colony Cove recovered in titiat year, however, was only approximately
                      27   $180,000, and represented a return of approximately 1% on Colony Cove's equity
                      28   investment. This return was far less than comparable real-estate investments were

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                        making, even in comparable, rent-controlled jurisdictions. One percent of an equity
                        investment is also far less than any reasonable investor would have expected when
                        purchasing Colony Cove in 2006. These restrictions, therefore, do not permit
                        Colony Cove to make a reasonable profit. Far fi-om it. By altering the manner in
                        which it treated bona fide debt service expenses, the City has essentially forced
                        Colony Cove to shoulder an affordable housing burden that should be borne by the
                        City taxpayers as a whole.^
                    8         6.     This Section 1983 action seeks to have the City's rent control law
                    9   declared imconstitutional, as-applied to Colony Cove, because it constitutes an
                   10   unlawful and/or an uncompensated taking of Colony Cove's property. This action

           88      11   also seeks damages and/or just compensation fi-om the City for the unlawfiil and
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 69 9' o           12   unconstitutional application of its rent control law and for violating Colony Cove's
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           SO
           |S 13 due process rights, and/or an injunction against the City enjoining it from applying
                   14   its rent control law to Colony Cove.

2 2116!  15                                                    PARTIES
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 M Pk;             16         7.     Colony Cove is a Delaware limited liability company and the owner of
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                   17   Colony Cove Mobile Estates, a luxury mobilehome park located at 17700 S. Avalon
                   18   Boulevard, Carson, California 90746 (the "Park"). Constructed in 1975, the Park is
                   19   one of the most luxurious mobilehome parks in the City of Carson, providing its
                   20   residents with amenities including a large, central clubhouse-style building with a
                   21   kitchen, banquet room/auditorium, swimming pool, Jacuzzi, billiards/card room,
                   22   library/television room, exercise room, indoor spa and a laundry room. A
                   23   recreational vehicle storage area is available, and the residents may rent spaces at an
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                   25   ^In fact. Colony Cove residents are paying approximately halfthe rent they would
                   26
                        otherwise be paying if Colony Cove were permitted to charge market rate rents
                        (average rent at Colony Cove is approximately $500 when market rents would be in
                   27   excess of $1,000). Colony Cove could profit and earn a reasonable return (and
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                        would have) even with below-market rents.


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                        1   additional cost. A pet exercise run is provided for residents' use. Gated security
                        2   services are provided on a 24-hour basis. Water, sewer, and trash collections
                        3   services are also provided for the residents. The Park has 404 spaces (also known as
                        4   lots or pads) available for mobilehomes, 403 of which are rented to residents. One
                        5   space is provided for the Park's manager.
                        6         8.     Defendant City of Carson is a municipal corporation located within the
                        7   State of California and in the County of Los Angeles.
                        8         9.     Defendant City of Carson Mobilehome Park Rental Review Board (the
                        9   "Board") is a public administrative body created by the City's Mobilehome Space
                       10   Rent Control Ordinance to hear and determine applications of property owners for
                       11   rent adjustments.
            §1
                       12         10.    Colony Cove is unaware ofthe true names, involvement, or capacities,
                       13   whetiierindividual, corporate, associate, or otherwise, of DefendantsDoes 1 to 10
^       , LU ~i   •    14   (the "Doe Defendants"), and tiierefore sues them by such fictitious names. Colony
3 2pjt                 15   Cove is informed and believes, and based upon such information and belief alleges
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    ds"!? 16                that each of the Doe Defendants is responsible for the actions described herein, has
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                       17   conspired with the other Defendants herein, was the agent, servant, employee, or
                       18   alter ego of the remaining Defendants, or is otherwise responsible for the
                       19   complained of actions. Colony Cove will amend this Complaint when it leams the
                       20   true names, involvement, and capacities of the Doe Defendants.
                       21                              FACTUAL BACKGROUND

                       22         A.     The City of Carson's Rent Control Law.
                       23          11.   In 1979,the City enacted a rent control ordinance, thereafter amended
                       24   from time to time, known as the Mobilehome Space Rent Control Ordinance (the
                       25   "Ordinance"). Among otherthings, the Ordinance created the Board, which was
                       26   delegated tihe authority to receive, hear, and determine applications for rent
                       27   increases. No review of the decision of the Board is permitted by any other
                       28   administrative body. Review is permissible under California law only by pursuing a
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           1   writ of administrative mandate upon a showing that tiie Board's decision was not
          2    supported by substantial evidence with substantial deference to the Board's
          3    determinations.

          4          12.      In addition to the Ordinance, the City has adopted Guidelines for
          5    Implementation of the Mobilehome Space Rent Control Ordinance (the
          6    "Guidelines" and collectively with the Ordinance, the "Rent Control Law"), which
           7   bind the Board's procedures and decision in acting upon applications for rent
          8    increases by owners of mobilehome parks. The Guidelines are also published to
          9    advise property owners and the public how the Board and City will implementthe
          10   Ordinance and apply the Rent Control Law. The Board may not depart from these
          11   Guidelines, which have tihe force of law. Even ifthe Guidelines did not have the
          12   force of law and even if the Board reserved the power to depart from the Guidelines,
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          13   the Guidelines are still designed and intended to, and in fact do, set the reasonable
          14   expectations of investors andpark owners in the City. That is why the Guidelines
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3Sil^?    15   were adopted and published externally.
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 Sigia    16         13.      Mobilehome parks are the only properties in the City subject to any
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          17   rent control law. No other rental property types (e.g., apartments, houses, and
          18   condominiums) in the City face any rent control measures.
          19         14.      The City's Rent Control Law does not permit an automatic increase
          20   based on a set formula. Instead, the Rent Control Law requires a park owner to
          21   prepare and submit a rent increase application - at great time and expense - to
          22   obtain any rent increase, no matter how small. The Board may then grant such
          23   increases "as it determines to be fair, just and reasonable." In making its decision
          24   on a general rent increase, tiie Board must consider eleven factors articulated by the
          25   Ordinance, as well as any other relevant factors, and treat no one factor as
          26   dispositive.
          27         15.      Section IV of the Guidelines also permits park owners to file another
          28   separate rent increase application if a rent increase is necessary because tiiepark
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             1   cannot earn a "fair return" without an increase greater than that permitted by
            2    application of the general rent increase factors in the Ordinance.
            3          16.    This fair return application requires an applicant to submit all the
             4   information required by a general rent increase application, and further requires the
             5   applicant to submit: (1) an appraisal ofthe park at the time of purchase; (2)
             6   information about down payments, equity, and refinancing; (3) information
             7   regarding capital improvements; (4) information about the rate of return being
             8   earned by the applicant's park; and (5) information about the rates of return being
             9   earned by comparable mobilehome parks in jurisdictions with rent control and
            10   without rent control. Both the appraiser and any expert providing an opinion on
            11   rates of return must also be present at the hearing for testimony and questioning.
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            12          17.   At the time it purchased the Park, and still to this day. Colony Cove has
            13   been reasonably informed and understands fi*om its diligence that, prior to Colony
N ii        14   Cove's acquisition ofthe Park, the City always (or virtually always) considered a
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^ Ss^Kt     15   park owner's debt service when disposing of fair return rent applications. This was
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 dsS^o 16 the Plaintiffs reasonable and informed understanding at the time it purchased the
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            17   Park based on how other owners rent applications had been analyzed as well as
            18   judicial decisions in the state considering the City's Rent Control Law.
            19          18.   For example, the Guidelines in effect at tihie time Colony Cove
            20   purchased the Park provide that debt service is an allowable expense, even if
            21   incurred after the adoption of the relevant rent-control regulations, if it is "[d]ebt
            22   >]ervice necessarily incurred to operate the park ... if the financing arrangements
            23   were prudent and consistent with customary business practice." Guidelines,
            24   § n(A)(2), subds. (d) & (e). Even debt service incurred to purchase a park is
            25   allowable if "the purchase price paid was reasonable in light of rents allowed under
            26   the Ordnance and involved prudent and customary financing practices." Id.
            27   § 11(A)(2), subd. (f).
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                               B.     Colony Cove Purchases the Park with a Reasonable Expectation
                     2                That Its Debt Service Would Be Considered by the City When
                     3                Setting Rent Levels.
                     4         19.    Non-party Grossman Properties developed the Park in 1976 and owned
                     5   it for thirty years. Colony Cove has no connection to Grossman Properties. On or
                     6   about April 4,2006, Colony Cove purchased the Park for approximately
                     7   $23,050,000 from Grossman Properties. The seller of Colony Cove had listed the
                     8   Park for sale at a price exceeding $28 million. Grossman Properties received other
                     9   offers for the Park that were around the same price as the $23,050,000 purchase
                    10   price tiiat Colony Cove paid. The purchase price that Colony Cove paid represented
                    11   fair market value of the Park and was commercially reasonable.
       8i  12                  20.    Colony Cove's purchase included a down payment of $5,050,000,
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             m|S 13 which represented Colony Cove's initial equity investment in the Park.
t "^8122 14                    21.    The remaining approximately $18 million was financed with a
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                    15   reputable lender, G.E. Capital, using common and commercially reasonable
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             §lo    16   financing terms, including but not limited to the interest rate and the loan-to-value
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                    17   ratio. Colony Cove is informed and believes, and based thereon alleges, that G.E.
                    18   Capital could not have made the $18 million (approx.) loan to Colony Cove unless
                    19   G.E. Capital had concludedthat the $23 million (approx.) purchase price was
                    20   reasonable and not unfair. The loan and financing terms from G.E. Capital were
                    21   prudent and consistent with customary business and financing practice, as the
                    22   members of Colony Cove have substantial experience in tibe ownership and
                    23   operation of mobilehome parks. The City does not dispute tiie amount of the G.E.
                    24   Capital loan or Colony Cove's debt service under that loan.
                    25         22.    Under the City's Rent Control Law as it existed at the time Colony
                    26   Cove purchased the Park in April 2006, Colony Cove was entitled to include debt
                    27   service as an allowable expense, and had a commercially reasonable expectation that
                    28   its debt service expenses would be included as an allowable expense when the

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                    Board set rents. That reasonable belief was based in part on tilie terms of the
                    Ordinance and Guidelines and also based on how the Board had analyzed and
                3   calculated rents previously in the City. Colony Cove could not reasonably foresee
                4   or predict that the Board would suddenly deem its debt service on the $18 million
                    (approx.) purchase money loan from G.E. Capital to be unreasonable or irrelevant in
                    connection with fixing rents.
                          C.     On September, 28,2007, Colony Cove Submitted General and Fair
                8                Return Rent Increase Applications.
                          23.    On or about September 28,2007, Colony Cove submitted both a
               10   general and a fair return rent increase application to the City (collectively, the "Year
               11   1 Applications"). Colony Cove submitted all of the required information, including
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       lu 12        the additional documentation required for a fair return application.
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                          24.    Together, the Year 1 Applications demonstrated that Colony Cove

iflp "              operated at a loss totaling $1,082,191 for its first year of ownership and would
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               15   continue to do so unless Colony Cove received relief in the form of the requested
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    ii 16 rent increase. This loss is based on actual expenditures by Colony Cove, which the
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            iP 17   City does not dispute that Colony Cove made.^
               18         25.    Colony Cove presented evidence that various quantitative
               19   methodologies, performed by different experts, all arrived at the same conclusion -
               20   a rent increase of approximately $200 per space per month is necessary for Colony
               21   Cove to earn a fair return on its investment.

               22         26.    In sharp contrast to the approximately $200 figure presented by Colony
               23   Cove, City staff prepared a report recommending that the Board grant a $15.65 per
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                    ^While the City did notdispute that these were actual expenditures made by Colony
               25   Cove, as part ofthe rent setting process, the City excluded actual expenses that it
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                    believes should not be considered when setting rents (in addition to refusing to
                    consider debt service). While Colony Cove disagrees with some of the City's
               27   expense exclusions, even accepting the City's expense exclusions. Colony Cove still
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                    operated at a loss of $311,972.


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            1   space, per month rent increase. To arrive at this figure, the Board decided to ignore
            2   and disregard Colony Cove's debt service. By ignoring Colony Cove's debt service,
            3   the Board ensured that Colony Cove would be forced to operate the Park at
            4   substantial cash losses.

            5         27.    The Board apparently concluded that debt service amounts could be
            6   manipulated and therefore should be ignored, despite the fact that there was no
            7   evidence that Colony Cove and G.E. Capital conspired to or did manipulate the debt
            8   service in this case.

            9         28.      Because the Board had not previously ignored third-party, purchase
           10   money debt service to Colony Cove's informed belief, Colony Cove at all times
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           11   reasonably expected that the Board would decide rent increases by determining a
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           12   fair rate of return and by consideration of the factors set forth in the Ordinance and
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           13   the Guidelines including debt service expenses obtained in a commercially prudent
           14   fashion. The abandonment of debt service as a relevant factor in determining rents

^m6        15   was a circimistance Colony Cove could not have reasonably expected and operated
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jg   So    16   as a change in law.
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           17         29.    Despite the evidence that Colony Cove was operating at a loss and that
           18   a rent increase of approximately $200 per space per montii was necessary for
           19   Colony Cove to earn a fair return, the City only approved a $36.74 per space rent
           20   increase. Even witii this increase Colony Cove continued to incur a six-figure loss
           21   yearly.
           22         30.    The City reached this result by refusing to consider Colony Cove's debt
           23   service and could not have reached it had debt service been properly considered.
           24         D.     The Year 2 Applications and Rent Board Decision.
           25         31.    On or about September 28, 2008, Colony Cove submitted botii a
           26   general and a fair return rent increase application to the City based on income and
           27   expense data from its second full year of ownership (collectively, the "Year 2
           28   Applications"). Colony Cove again submitted all of the required information,

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           1   including the additional documentation required for a fair return application.
           2   Together, the Year 2 Applications demonstrated that Colony Cove continued to
           3   operate at a loss. This time the annual loss totaled $812,177 according to Colony
           4   Cove's books.

           5         32.    The City again excluded a substantial amount of Colony Cove's
           6   expenses. After the City's expense exclusions, however. Colony Cove lost even
           7   more money the second year of ownership than it did the first year - a loss of
           8   $455,571 for Year 2.
           9         33.    In written submissions and through testimony at the hearing. Colony
          10   Cove presented evidence that, using the City's view of Colony Cove's expenses, a
          11   rent increase of approximately $250 was necessary to achieve a fair return.
K o°|                34.    Dr. Baar again advocated the MNOI analysis, because it "permit[s] an
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          13   equal rate of growth ... regardless of [tiie owner's] particular purchase and financing
          14   arrangements."
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          15         35.    The Board again refused to consider any of the evidence contained in
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iJ Kglo   16   the fair return application and ignored Colony Cove's debt service payments.
          17         36.    Despite the undisputed evidence that Colony Cove again operated at a
          18   substantial loss, the Board only approved a $25.02 per month, per space rent
          19   increase based on the Year 2 Applications. This rent increase was lower than the
          20   previous year's increase even though, according to the City's calculations. Colony
          21   Cove lost more money. That increase forced Colony Cove to continue incurring a
          22   substantial loss. Once again, the City refused to consider Colony Cove's debt
          23   service.

          24         E.     The Year 3 Applications and Rent Board Decision.
          25         37.    On or about September 29, 2009, Colony Cove submitted both a
          26   general and a fair return rent increase application to the City based on income and
          27   expense data firom its third full year of ownership (collectively, the "Year 3
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              1   Applications"). Colony Cove again submitted all ofthe required information,
              2   including the additional documentation required for a fair return application.
              3         38.     Together, the Year 3 Applications demonstrated that Colony Cove
              4   continued to operate at a loss. As in Year 2, the Year 3 annual loss again exceeded
              5   $800,000 according to Colony Cove's calculations.
              6         39.    The City again excluded a substantial amount of Colony Cove's
              7   expenses totaling over $600,000. Even accepting these exclusions, however.
              8   Colony Cove again operated at loss of approximately $200,000.
              9         40.    City Staffrecommended a $4.19 per space, per month rent increase
             10   based on tiie consumer price index ("CPI"). A CPI adjustment does not consider
             11   Colony Cove's investment returns, much less compare them to like investments.
  i.ili      12   The methodology merely takes existing rents and adjusts them based on the increase
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     i»|S    13   in the CPI. In other words, the City Staffs recommendation did not even purport to
             14   take into account Colony Cove's investment and returns or the circumstances
i|§ip        15   common to mobilehome parks in the area. The City Staffs approach also ignored
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 dgS^s 16         the debt service payments that Colony Cove was actually paying to G.E. Capital.
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      W (_   17         41.    The Board accepted Staffs recommendation and made a final decision
             18   increasing Colony Cove's rents by $4.19 per month, per space. That increase forced
             19   Colony Cove to continue incurring a substantial loss. Once again, the City refused
             20   to consider Colony Cove's debt service.
             21         F.     The Year 4 Applications and Rent Board Decision.
             22         42.    On or about September 29,2010, Colony Cove submitted both a
             23   general and a fair return rent increase application to the City based on income and
             24   expense data from its fourth full year of ownership (collectively, the "Year 4
             25   Applications"). Colony Cove again submitted all ofthe required information,
             26   including the additional documentation required for a fair return application.
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                 1         43.        Together, the Year 4 Applications demonstrated that Colony Cove
                 2   continued to operate at a loss. The Year 4 annual loss exceeded $1,000,000
                 3   according to Colony Cove's books.
                 4         44.       City Staff recommended a $17.83 per space, per month rent increase
                 5   but once again excluded factors specific to Colony Cove and the Park, including
                 6   debt service. All legitimate methodologies submitted by qualified experts suggested
                 7   that a $200 to $300 rent increase was necessary.
                 8         45.    The Board accepted Staffs recommendation and made a final decision
                 9   increasing Colony Cove's rents by $17.83 per month, per space. That increase
                10   forced Colony Cove to continue incurring a substantial loss. Once again, the City
                11   refused to consider Colony Cove's debt service.
    liisl 12               G.     The Year 5 Applications and Rent Board Decision.
                13         46.        On or about March 2, 2012, Colony Cove submitted general and fair
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                14   return rent increase applications to the City based on 2011 expenses. Colony Cove
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                15   again suffered a six-figure loss. On October 10,2012, the City passed a resolution
    o|oon
    jKglo 16         regarding Colony Cove's rent increase application. Instead of increasing rents by
         ip 17 approximately $300 as required by governing law and the City's rent control
                18   scheme, the City awarded Colony Cove a temporary rent increase of only $11.20.
                19         47.    The City continued to ignore Colony Cove's investment and refused to
                20   compare Colony Cove's returns to returns on comparable real estate investments.
                21         48.    Although Colony Cove eventually earned a small profit in 2012, that
                22   profit was well below what Colony Cove could have earned witii reasonable, below-
                23   market rents.

                24         H.     Federal and State Litigation Between Colony Cove and the City.
                25         49.    On or about October 27, 2008, Colony Cove filed a complaint in this
                26   Court against the City asserting facial and as-applied takings and due process
                27   claims, a claim for declaratory relief, and a pendent state claim seeking a writ of
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                   1   administrative mandate under California law. See Colony Cove Props, v. City of
                   2   Carson, C.D. Cal. Case No. CV 08-7065 PA (JWJx) (Docket No. 1).
                   3         50.    The City moved to dismiss the Complaint.
                   4         51.    On or about November 24, 2009, the Court granted the City's motion.
                   5   See id. (Docket No. 28). The Court held that the facial claims (and declaratory relief
                   6   claims based on them) were barred by the statute of limitations because the City's
                   7   rent control guidelines did not restart the limitations period on the original rent
                   8   control ordinance. None of those claims are asserted in this action.

                   9         52.    With respect to the as-applied takings claim, the Court held that the
                  10   claim was not ripe under Williamson County Regional Planning Commission v.
                  11   Hamilton Bank ofJohnson City, 473 U.S. 172 (1985), because Colony Cove had not
                  12   yet pursued an action in state court. In order to satisfy Williamson County, this
     •5 UJ o ^
     ^ I- § O
     IraiS 13 Court held. Colony Cove must first seek, and be denied, compensation through the
            u          procedures the state has provided for doing so. Until that time, any federal takings
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3 Sb<<! 15 claim has not ripened. In the context of a rent-conlrol ordinance, this Court held
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 t-( &< s    *-        that Colony Cove must first seek an adjustment under Kavanau v. Santa Monica
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            S5^ 17 Rent Control Board, 16 Cal. 4tii 761 (1997).
                  18         53.    The Court also dismissed Colony Cove's as-applied substantive due
                  19   process claim and declined to exercise supplemental jurisdiction over Colony
                  20   Cove's pendent writ claim.
                  21         54.    Colony Cove timely appealed the Court's ruling on the federal claims
                  22   to the United States Court of Appeals for the Ninth Circuit, while filing a state writ
                  23   claim in Los Angeles Superior Court to ripen its federal claims consistent with this
                  24   Court's dismissal order. The state court action raised only state law claims.
                  25         55.    Colony Cove filed the state writ claim. Colony Cove Properties, LLC v.
                  26   City ofCarson, LASC Case No. BS124253, which pertained to the Year 1
                  27   Applications, on or about December 23,2009. Colony Cove also filed a writ claim
                  28   in state court pertaining to the Year 2 Applications, Colony Cove Properties, LLC v.

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                                                              COMPLAINT
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               1    Cz'O' o/Carson, LASC Case No. BS124776, on or about February 3, 2010. Colony
               2    Cove contended in its petitions, inter alia, that the methodology the City employed
               3    to determine the rents Colony Cove could charge was unfair and contrary to
               4    California law because, among other things, at a minimum the Board should have
               5    permitted rent increases based on the full rate of inflation according to the CPI,
               6    instead of a fraction thereof, and that the Board had failed properly to consider the
                7   fair-return application. In both of these writ petitions. Colony Cove expressly
                8   reserved all of its rights to return and file a federal claim in federal court under
                9   Englandv. Louisiana StateBoard ofMedical Examiners, 375 U.S. 411 (1964),
               10   stating: "UnderEngland and its progeny, [Colony Cove] hereby reserves any and all
               11   federal claims arising from the facts alleged herein for litigation in federal court and
               12   gives notice to all parties andthe Court tiiat any resolution of state-law issues herein
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               13   shall not constitute a binding resolution ofparallel or related federal issues and shall
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               14   have no claim or issue preclusion for [Colony Cove's] federal claims."
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                           56.   The City filed, and the Superior Court granted, a motion to strike
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    mn         16   Colony Cove's England reservation.
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               17          57.   On or about July 26,2010, the Superior Court denied Colony Cove's
               18   writ based on the City's decision on the Year 1 Applications. The Superior Court
               19   applied an extremely deferential standard of review mandated by California law and
               20   concluded that the City "may choose to regulate pursuant to any fairly constructed
               21   formula." The Superior Courtupheld the use ofthe Board's analysis, noting that
               22   "the landlord cannot insist that a fair return must be calculated on the basis of what
               23   it paid for the mobile home park."
               24          58.   Colony Cove and the City acknowledged that tihie same trial judge was
               25   going to make the same ruling on the City's decision on the Year 2 Applications, so
               26   they stipulated to judgment in favor of the City in that case.
               27          59.   Colony Cove appealed the two judgments, where they were
               28   consoUdated by the California Court of Appeal.

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                                                           COMPLAINT
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         1          60.    Colony Cove also timely filed writ petitions based on the City's
        2    decisions involving the Year 3, Year 4, and Year 5 Applications. Colony Cove also
        3    made England reservations in these cases. These cases were stayed pending the
         4   outcome of the appeal involving Years 1 and 2.
         5          61.    On or about March 28, 2011, the Nmth Circuit affirmed this Court's
         6   judgment in its entirety. See Colony Cove Props., LLC v. City ofCarson, 640 F.Sd
         7   948 (9th Cir. 2011). The United States Supreme Court then denied Colony Cove's
         8   petition for a writ of certiorari.
         9          62.    On or about October 21, 2013, the California Court of Appeal issued its
        10   decision. Based on substantial evidence review of the Board's findings, the Court of
        11   Appeal affirmed the trial court's denial of the writs for Years 1 and 2. The Court of
iM      12   Appeal concludedthat the Board's use of an "approach [that] does not focus on how
        13   much the owner chose to pay for a rent-controlled property or how the purchase was
    i ^ 14   financed." "The MNOI approach ... does not take land acquisition cost, including
        15   debt service, into account." Citing prior precedent applying California law, the
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        16   Court of Appeal further noted that the approach used by the Board "rather than
        17   designating a particular rate of return as fair" simply "preserve[s] prior [net
        18   operating income] levels." Theprincipal benefit to this approach, the Courtof
        19   Appeal concluded, was administrability. Determining an actual fair rate of return
        20   "may ... be problematic to administer, because an owner's equity can be greatly
        21   affected by individual differences in methods and costs of financing." The Courtof
        22   Appeal also adopted the hypothetical that debt service arrangements could be
        23   manipulated for the purposes of obtaining large rent increases. But likethe Board
        24   before it, the Court of Appeal found no maiiipulation on the part of Colony Cove.
        25          63.    The Court of Appeal, nonetheless, concluded that based on existing
        26   state law precedent, the Board could imder state law disregard purchase price and
        27   debt service, even if botii were negotiated in arms-lengtih, market-based, and fair
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                                                   COMPLAINT
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                 1    transactions. The Court of Appeal thus adopted the Board's position that California
                 2    law did notprevent the City from disregardmg debt service entirely.
                 3          64.    The Court of Appeal, however, reversed the Superior Court's striking
                 4    ofthe England reservation. The Court ofAppeal noted that this Court had
                 5    dismissed the federal Takings claim under Williamson County. "Having received a
                 6    clear message from the district court, [Colony Cove] ... included the England
                 7    reservations in order to advise the court and [the City and the Board] that it had no
                 8    intention of resolving its federal constitutional claims in state court, butwould resort
                 9    to federal court resolution of such claims when the matters were ripe." Colony
                 10   Cove's England reservation, though not necessary to preserve Colony Cove's rights
                 11   to return to federal court to adjudicate federal claims, was "helpful to both the court
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                 12   and the opposmg party" by indicating that Colony Cove "wishe[d] to limit the state
    P K 2 < CO   13   court action to state issues." Striking the reservation would create a risk of
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                 14   "unnecessary confusion and duplication, as the litigant [such as Colony Cove] may
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                 15   feel compelled to raise federal issues in the state action although he or she intends to
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    di§^°        16   litigate the matters in federal court."
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                 17          65.   The California Court of Appeal thus confirmed expUcitly that Colony
                 18   Cove's action was premised solely on California law. Colony Cove sought, in its
                 19   petition for awrit ofadministrative mandamus, an increase in the permissible rent it
                 20   may charge. Itpremised its claim on the fact that the Board's method for setting
                 21   rents m the Park andrefusal to permit a full measure of CPI in setting rent increases,
                 22   all violated California law and the City's own Ordinance and Guidelines. The Court
                 23   ofAppeal, in restoring the England reservation recognized that no federal issues had
                 24   been litigated. In particular. Colony Cove never asserted in the state court action,
                 25   and the Court ofAppeal decision never reached, the question ofwhether a total
                 26   disregard ofreasonable, arms-length purchase price and debt service violates the
                 27   Fifth and Fourteenth Amendments of the U.S. Constitution. Nor did the Court of
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                                                                COMPLAINT
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            1   Appeal determine whether the Board's disregard of debt service disrupted Colony
            2   Cove's reasonable, investment-backed expectations/
            3           66.   Colony Cove filed a petition for review with the California Supreme
            4   Court, which was denied. The Year 1 and 2 judgments became final on January 28,
            5   2014.

            6           67.   Based on the rulings in the Year 1 and 2 case. Colony Cove and the
            7   City have agreed in principle that the same result would obtain from the California
            8   courts in the Year 3-5 writ petitions. Although tiie petitions are contested, the
            9   parties have agreed in principle to stipulate to judgmentin those cases for efficiency.
           10           68.   Accordingly, all state court remedies have been exhausted, and Colony

     8§
           11   Cove's claims are ripe for adjudication in federal court.
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   .§i:    12           69.   Colony Cove expects that tiie City will argue lhat Colony Cove's
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           13   federal claims are now precluded under 28 U.S.C. § 1738 and San Remo Hotel, L.P.
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s! i§'     14   V. City and County ofSan Francisco, 545 U.S. 323 (2005), by the parties' litigation
WHi        15   of Colony Cove's rights under California law. Colony Cove believes the argument
   i       16   is incorrect for at least two reasons. First, under California law, for issue preclusion
 rip
           17   to apply, the issue decided mustbe "identical with the one now presented." SeeSan
           18   Remo, 545 U.S. at 335 n.l4. In the state court litigation, the issue was whether,
           19   under state law, the City and the Board could exclude Colony Cove's debt service
           20   when settingrents. The California courts answered that question in the affirmative.
           21   In this case, the issue is whether application of a state rule that permits exclusion of
           22   debt service by the City and the Board such that it forced Colony Cove to lose
           23   moneyrepeatedly constitutes a taking under the Fifth Amendment. Second, the
           24

           25   ^Demonstrating the exclusion of federal issues, the Court of Appeal's decision cited
           26
                no federal cases (other than to describe the procedural background of this litigation's
                history in federal court and in the section restoring Colony Cove's England
           27   reservation). Nor did the decision ever speak of, or analyze, "investment-backed
           28
                expectations," a hallmark of federal takings law.

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                                                       COMPLAINT
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            1   California courts applied a very deferential standard of review (the substantial
            2   evidence test) when under governing U.S. Supreme Court case law, the more
            3   stringent independent judgment test must be applied to cases involving a property
            4   owner's constitutional rights.
            5                              FIRST CLAIM FOR RET.TEF

            6               (Violation of the Takings Clause of the Fifth Amendment

            7                 Under 42 U.S.C. S 1983 - As-Applied Takings Claim)

            8         70.    Colony Cove repeats and realleges each and every allegation contained
            9   in paragraphs 1 to 69, and incorporates them herein by reference.
           10         71.    By denying Colony Cove the ability to make any profit fi-om its
           11   investment in tihie Park, the City and the Board have effected a temporary and
           12   categorical taking by prohibiting, for some or all of the Years relevant in this
           13   litigation, all economically beneficial use of the land. Under California law, Colony
NsiS       14   Cove is not permitted to close the Park and use it for another economic purpose, nor
mn
3 2113     15   is Colony Cove permitted to evict the Park's current tenants, nor is Colony Cove
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           16   permitted to charge a rent that would result in any profit, much less a fair return on
 im
           17   investment. As a consequence. Colony Cove is forced to operate the Park at a loss.
           18   Such goverrmient imposition on a landowner's prerogative to make economic use of
           19   its land constitutes a violation of the Fifth and Fourteenth Amendments to the U.S.

           20   Constitution under Lucas v. South Carolina Coastal Council, 505 U.S. 1003 (1992).
           21         72.    Even if something less than all economically viable use had been
           22   destroyed by the City and the Bond's conduct denying reasonable increases in rent
           23   described herein, that conduct constitutes an unconstitutional taking under Penn
           24   Central Transportation Co. v. New York City, 438 U.S. 104 (1978). The City's
           25   overly-restrictive rents have had a significant economic impact on Colony Cove,
           26   both in terms of a substantial loss ofproperty value and forced operating losses
           27   exceeding $4 million. The City also directly interfered with Colony Cove's
           28   legitimate, investment-backed expectation that it could profit with reasonable rent

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                                                      COMPLAINT
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               1   levels and that its debt service would be considered when the City and the Board set
               2   rents. By forcing Colony Cove to operate at a loss year-after-year solely to serve the
              3    government's interest in subsidizing housing, the City's conduct was tantamount to
               4   a physical, government takeover of the Park.
               5         73.    As a result of the City's unconstitutional actions. Colony Cove is
               6   entitled to just compensation and/or damages in an amount to be proven at trial.
               7   Colony Cove is also entitled to an award of attorneys' fees under 42 U.S.C.
               8   § 1988(b).
               9                             SECOND CLAIM FOR RELIEF

              10         (Violatioii of the Due Process Clause of the Fourteenth Amendment

              11                                  Under 42 U.S.C. S 1983)

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    M         12         74.    Colony Cove repeats and realleges each and every allegation contained
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 P 2 5 < to   13   in paragraphs 1 to 73, and incorporates them herein by reference.
              14         75.    California law permits judicial review of administrative bodies, such as
3liip         15   the Board, only by seeking a writ of administrative mandamus. The standard of
              16   review a California court applies when deciding a writ action is the substantial
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              17   evidence standard. Substantial evidence review does not permit a California court
              18   to exercise its independent judgment; rather a court asks whether a reasonable mind
              19   might accept the evidence before the administrative body as adequate to support the
              20   conclusion. A California court is bound to consider the facts in the light most
              21   favorable to the administrative decision, giving that decision every reasonable
              22   inference and resolving all conflicts in the decision's favor.
              23         76.    In Ohio Valley Water Co. v. Ben Avon Borough, 253 U.S. 287 (1920),
              24   the Supreme Court held that where a property owner claims a taking of its property,
              25   judicial review of the administrative action by a state court must be de novo or else
              26   the property owner's due process rights are violated. See id. at 289 ("In all such
              27   cases, if the owner claims confiscation of his property will result, the.state must
              28   provide a fair opportunity for submitting that issue to a judicial tribunal for

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                                                          COMPLAINT
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         1    determination upon its own independent judgment as to both law and facts;
         2    otherwise the order is void because in conflict with the due process clause,
         3    Fourteenth Amendment."). In other words, due process is denied whenever a taking
         4    occurs and tiie property owner is denied the opportunity to seek the independent
         5    judgment of a court.
         6          77.    No California court has exercised its independent judgment of any of
          7   the Board's decisions in this case. The review ofthe Board's decision denying
         8    Colony Cove a reasonable rent increase has been deferential; far too deferential for
         9    the vindication of these important constitutional rights.
         10         78.    In fact, cities know that they can game the system under California law
         11   because merely having a single putative experttestify is sufficient to support the
 iM      12   administrative decision - whatever it is. See MHC Operating Ltd. P 'ship v. City of
         13   San Jose, 106 Cal. App. 4th 206, 225 (2003) ("Dr. Baar's testimony alone
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N i ^ 14      constitutes substantial evidence...").
         15         79.    As a result of the California courts' deferential review to the City's
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         16   decisions described herein. Colony Cove has been harmed. Colony Cove therefore
         17   requests that this Court engage in independent review of the administrative records
         18   for each of the petitions described herein and award damages against the City based
         19   on the appropriate, nonconfiscatory rent-levels set by the Court. In the alternative.
         20   Colony Cove requests that the Court issue an injunction commanding the Cityto
         21   permit Colony Cove to charge rents at appropriate, nonconfiscatory levels m an
         22   amount to be proved at trial.
         23          80.   Colony Cove is also entitled to an award of attorneys' fees under 42
         24   U.S.C. § 1988(b).
         25                              THIRD CLAIM FOR RELIEF

         26                                    (Declaratory Relief)
         27          81.   Colony Cove repeats and realleges each and eveiy allegation contained
         28   in paragraphs 1 to 80, and incorporates them herein by reference.
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                                                       COMPLAINT
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                1         82.    An actual controversy has arisen and now exists between Colony Cove
                2   and the City relative to the validity and constitutionality of the City's Rent Control
                3   Law and whether it constitutes a taking as applied to Colony Cove.
                4         83.    A judicial declaration is necessary and appropriate at this time to settle
                5   the parties' disputes concerning the validity and constitutionality of the City's Rent
                6   Control Law.

                7                                    PRAYER FOR RELIEF

                8         WHEREFORE, Plaintiffprays for judgment as follows:
                9         A.     A declaration that the City's Rent Control Law, as applied to Colony
               10   Cove, is unconstitutional, invalid, and/or constitutes an uncompensated taking in
               11   violation of the Takings Clause of the Fifth Amendment of the United States
    B so>o     12   Constitution.
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     gmiC 13              B.     An injunction against the City and the Board preventing enforcement of
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           w        the City's Rent Control Law against Colony Cove.
                          C.     Damages and/or just compensation in an amount to be proven at trial,
        ii
    iii             as well as and alternatively nominal damages.
        U 17              D.     An injunction commanding the City to allow Colony Cove to charge
               18   rents in an amount to be proven at trial.
               19         E.        An award of attorneys' fees and costs.
               20         F.        Such other and flirtiier relief as the Court deems just and proper.
               21

               22   DATED: April 28, 2014                           GILCHRIST & RUTIER
                                                                   Professional Corporation
               23                                                               &

               24                                                   0'MELVENX& MYERS LLP

               25

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                                                                        KeVilh M^of
               27                                                       Attomeyslfcr^laintiff
                                                                        Colonv Cove Prooerties. LLC
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                                                             COMPLAINT
         Case 2:14-cv-03242-PSG-PJW Document 1 Filed 04/28/14 Page 22 of 27 Page ID #:35




              1                             DEMAJSP FOR JURY TRIAL

              2          Colony Cove hereby demands a jury trial on all issues to the extent permitted
              3    by law.
              4

              5
                   DATED: April 28, 2014                      GELCHRIST & RUTTOR
              6                                               Professional Corporation
                                                                          &
              7
                                                              O'MELVEN:^ MYERS LLP
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              10                                                  Kevi
                                                                  Attorneys ibrTlaintiff
              11                                                  Colonv Cove ProDerties. LLC
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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                            NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES


           This case has been assigned to District Judge             Philip S. Gutierrez          and to
            Magistrate Judge             Patrick T. Walsh             .


            The case number on all documents filed with the Court should read as follows:


                                            2:14-cv-03242-PSG(PJWx)



            Pursuant to General Order 05-07 of the United States District Court for the Central District of
            California, the assigned Magistrate Judge has been designated to hear discovery-related
            motions. All discovery-related motions should be noticed on the calendar ofthe Magistrate
            Judge.




                                                                    Clerk, U. S. District Court


                 April 28,2014                                      By APEDRO
                     Date                                              Deputy Clerk




                                                     ATTENTION


         Acopy ofthis Notice must be served on allparties served with the Summons and Complaint (or, in cases
          removedfrom state court, on allparties served with the Notice ofRemoval) by the party whofiled the
                                           Complaint (or Notice ofRemoval).


CV-18 (04/14)                        NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
        Case 2:14-cv-03242-PSG-PJW Document 1 Filed 04/28/14 Page 24 of 27 Page ID #:37

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      United States District Court
                                                            for the
                                                CENTRL DISTRICT OF CALIFORNIA




COLONY COVE PROPERTIES, LLC, a Delaware
limited liability company
                            Plaintiff(s)
                                 V.                                   Civil Action No.

CITY OF CARSON, a municipal corporation; CITY
OF CARSON MOBILEHOME PARK RENTAL
REVIEW BOARD, a public administrative body; and
                                                                  S»14-05242 -!m f*7
DOES 1 to 10, inclusive
                           Defendant(s)


                                                 SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address)




          A lawsuit has been filed against you.

          Within 21 days after service of this summons onyou(notcounting the dayyoureceived it)— or 60 days if you
are the United Statesor a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or (3) — you must serveon the plaintiffan answerto the attached complaint or a motion under Rule 12of
the Federal Rules of Civil Procedure. Theanswer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
     Kevin M. Yopp (Bar No. 218204)
     kyopp@gilchristrutter.com
     Gilchirst & Rutter
     1299 Ocean Avenue, Suite 900
     Santa Monica, CA 90401
     Telephone: (310)393-4000

          If you fail to respond, judgment bydefault will beentered against you forthe reliefdemanded inthecomplaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COUR


                  APR 2.8 ?014
Date:
                                                                                                           Clerk




                                                                                                     American LegalNet, Inc. j
[398219.1/4541.038]                                                                                  www.FormsWorkFlQw,com '
               Case 2:14-cv-03242-PSG-PJW Document 1 Filed 04/28/14 Page 25 of 27 Page ID #:38
                                             UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                              CML COVER SHEET

-t (a) PLAINTIFFS (Check box if you are representing yourself Cl)                              DEFENDANTS        (Check box ifyou are representing yourself LJ )
COLONY COVE PROPERTIES, LLC                                                                    CITY OF CARSON, a municipal corporation; CITY OF CARSON
                                                                                               MOBILEHOME PARK RENTAL REVIEW BOARD, a public
                                                                                               administrative body; and DOES 1 to 10, inclusive
fb) Countv of Residence of First Listed Plaintiff Los Angeles                                  Countv of Residence of First Listed Defendant Los Angeles
(BCCSPTWUS RAmFF CASES)                                                                        (INUS PLAINTIR^CASES ONLY)

(c) Attomeys {Firm Name. Address and Telephone Number) Ifyou are                               Attorneys (Finn Name, Addressand Telephone Number) Ifyou are
representing yourself, provide the same information.                                           representing yourself, provide the same information.
Kevin M. Yopp, Esq. (Bar No. 218204)
kvooo®.ailch ristrutter.com
Giichrist & Rutter
1299 Ocean Avenue, Suite 900, Santa Monica, CA 90401
Telephone: (310) 393-4000; Facsimile: (310)394-4700
II. BASIS OF JURISDICTION (Place an X In one box only.)                              III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                            (Place an X In one box for plaintiff and one for defendant)
• 1.U.S. Government                  ^ 3. Federal Question (U.S.                     Ctizen of.Ti,-  e. .
                                                                                                This state              rn
                                                                                                                        Dl      Incorporated
                                                                                                                            Dl of Business inorthisPrincipal
                                                                                                                                                     State Place ^4 ^4
     Plaintiff                           Government Not a Party)
                                                                                     Citizen of Another State           D 2 Q 2 Incorporated and Principal Place D 5 1 15
                                                                                                                                              of Business in Another State
n 2. U.S. Government                 dl 4. Diversity (Indicate Citizenship           Citizen or subject of a            ^3                    foreign Nation                       Do De
     Defendant                           of Parties in Item III)                     Foreign Country                    i_i 0     i_i «
IV. ORIGIN (Place an X in one box only.)
                                                                                                                                                           6. Multi-
13 1. Original         l~l 2. Removed from            l~l 3. Remanded from         d] 4. Reinstated or                5. Tiansfercd from Another •             District
        Proceeding            State Court                  Appellate Court                  Reopened                    District (Specify)                 Litigation


V. REQUESTED IN COMPLAINT: JURY DEMAND: ^ Yes•                                          No        (Check "Yes" only ifdemanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23: • Yes ^ No                                                  ^ MONEY DEMANDED IN COMPLAINT: $ To be proven at trial.
VI. CAUSE OF ACTION (Citetlie U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurlsdictional statutes unless diversity.)
     28 U.S.C. § 1983 Fifth Amendment As-Applied Taking
VII. NATURE OF SUIT (Place an X in one box only).

                               1^ 110 Insurance            •   240 Torts to Land        I—I 462 Naturalization                     Habeas Corpus:                   820 Copyrights
 •   375 False Claims Act                                                               I I Application
 r—, 400State                  n 120 Marine                n   245 Tort Product                                             • 463 Alien Detainee               • 830 Patent
 LJ Reapportionment                                            Liability                • 465 Other                         r-| 510Motions to Vacate
                                                                                                                                                               I I 840Trademark
 Q 410 Antitrust                     130 Miller Act        rn 290 All Other Real              Immigration Actions           '—' Sentence
                               •                               Property
 I I 430 Banks and Banking I—I 140 Negotiable
                               1 I Instrument                                                                                                                       861 HIA(1395ff)
 • 450 Commerce/ICC                  150 Recovery of                                                                                                                862 Black Lung (923)
                                                                                               370 Other Fraud
     Rates/Etc.
                               • Overpayment &             •   310 Airplane
                                                                                        Q 371 Truth in Lending                                                      863 DIWC/DIWW (405 (g))
 [~| 460Deportation                  Enforcement of            315 Airplane                                                      540 Mandamus/Other

 • 470 Racketeer Influ               Judgment              •   Product Liability               380 Other Personal           Q 550 Civil Rights                      864 SSID Title XVI

     enced & Corrupt Org.      1^ 151 Medicare Act             320 Assault. Libel &     •      Property Damage
                                                                                                                            |—j 555 Prison Condition                865 RSI (405 (g))
                                                           •   Slander
                                                                                               385 Property Damage
 I I 480 Consumer Credit             152 Recovery of           330 Fed. Employers'      •                          I—I 560 Civil Detainee
                                                                                               Product Liability   I I Conditions of
 Q 490 Cable/Sat TV            n      Defaulted Student •      Liability
                                    ' Loan (Excl. Vet.)                                                                          Confinement                        870 Taxes (U.S. Plaintiff or
                                                               340 Marine
 I—I 850 Securities/Com-             153 Recovery of
                                                           •                            • 422 Appeal 28                                                             Defendant)
 1 I modities/Exchange         I I Overpayment of          •
                                                               345 Marine Product
                                                               Liability
                                                                                              use 158                       I 625 Drug Related                 • 871 IRS-Third Party 26 USC
 • 890 Other Statutory               Vet. Benefits                                      • 423 Withdrawal 28                 I ISeizure of Property 21               7609
                                                                                                                                 use 881
     Actions
                               • 160 Stockholders' •           350 Motor Vehicle              use 157
                                                                                                                            • 690 Other
 I I 891 Agricultural Acts           Suits                     355 Motor Vehicle
                                                           •   Product Liability
 I—, 893 Environmental         |~| 190 Other                   360 Other Personal              440other Civil Rights
 I I Matters                                               •                                                                rn 710 Fair Labor Standards
                                —    Contract                  Injury                   Q 441 Voting
 • 895 Freedom of Info.        • 195 Contract                  362 Personal Injury-
                                                                                                                                 Act
     Act
                                     Product Liability     •   Med Malpratice           I I 442Employment                   • 720 Labor/Mgmt.
 •   896 Arbitration                 196 Franchise             365 Personal Injury-     • 443 Housing/                      ^    Relations
                                                           •   Product Liability               Accomodations
                                                                                                                            • 740 Railway Labor Act
     899 Admin. Procedures                                                              , , 445 American with
 n Act/Review ofAppeal of •          210 Land
                                                               367 Health Care/
                                                               Pharmaceutical           U      Disabilities-                • 751 Family and Medical
     Agency Decision                 Condemnation          •   Personal Injury                 Employment                     Leave Act

                               I I 220 Foreclosure             Product Liability        I I 446 American with               • 790 Other Labor
                                                                                                                                 Litigation
 • 950 Constitutionality of          230 Rent Lease &
                                                               368 Asbestos               ^ Disabilities-Other
                                                                                                                            |~| 791 Employee Ret Inc.
     State Statutes
                               •     Ejectment                                                       ^u(|gitior^*-v
                                                                                                                            '—' Security Act
 FOR OFFICE USE ONLY:                  Case Number:

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                                            UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                CIVIL COVER SHEET


VIII. VENUE; Your answers to the questions below will determine the division ofthe Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.


Question A: Was this case removed from                               STATE CASE WAS PENDING IN THE COUNTY OF                                          INITIAL DIVISION IN CACD IS:
state court?

                n Yes        ^ No                  I I Los Angeles
If "no," go toQuestion B. If "yes," check the      Q Ventura, Santa Barbara, or San Luis Oblspo
box to the right that applies, enter the          -==
corresponding division in response to              I I Orange
Question D, below, and skip to Section IX.
                                                   I I Riverside orSan Bemardino

Question B: Is the United States, or one of                   Ifthe United States, or one of its agencies or employees,Tis a party^ is it:
its agencies or employees, a party to this _
action?                                                                                                                                                               INITIAL
                                                                     A PLAINTIFF?                                      A DEFENDANT?                                 DIVISION II
                                                                                                                                                                     CACD IS:
                n Yes         ^ No                 ; Then check the box below for the county in      '   Then check the box below for the county in
                                                        which the majori^ of DEFENDANTS reside..          which the maiorlty of PLAINTIFFS reside.

If "no," go to Question C. If "yes," check the CH Los Angeles                                        I I Los Angeles
box to the rightthat applies, enter the            r-i Ventura,
                                                   I—I Ventura. Santa
                                                                Santa Barbara,
                                                                      Barbara, orSan
                                                                               or San Luis
                                                                                      Luis           • Ventura, Santa Barbara, or San Luis
corresponding division in response to              '—' Oblspo                                             Oblspo
Question D, below, and skip to Section IX.
                                                   •    Orange                                       r~l Orange                                                       Southem


                                                   •    Riverside or San Bernardino                  n Riverside orSan Bemardino
                                                   I I Other                                         n Other

                                                                                                                           d: ; •
      Question C: Location of
                                           Los Angeles ' Ventura, Santa Barbara, or Orange County                  Riverside or San              Outside the Central .
 plaintiffs, defendants, and claims?
                                             County        San Luis Oblspo Counties                              Bernardino Counties             District of California*
  (Make only one selection per row);?
  Indicate the location in which a
  majority of plaintiffs reside:
  Indicate the location in which a
  majority of defendants reside:
  Indicate the location in which a
  majority of claims arose:



C.1. Is either of the following true? If so, check the one that applies:                    C.2. Is either of the following true? If so, check the one that applies:

      0 2 ormore answers in Column C                                                               n 2 ormore answers in Column D
      1 I only 1answer in Column Cand no answers in Column D                                       I I only 1answer in Column Dand no answers in Column C

                       Your case will initially be assigned to the                                                 Your case will initially be assigned to the
                                   SOUTHERN DIVISION.                                                                          EASTERN DIVISION.
                Enter "Southern" in response to Question D, below.                                            Enter "Eastern" in response to Question D, below.

                   If none applies, answer question C2 to the right.                                                   If none applies, go to the box below. X
                                                                         Your case will initially be assigned to the
                                                                                    WESTERN DIVISION.
                                                                     Enter "Western" in response to Question D below.




Question D: Initial Division?                                                                                                INITIAL DIVISION IN CACD;;

 Enter the initial division determined by Question A, B, or C above:
                                                                                         Western Division




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                                                                                                                                                                American LegalNet, Inc.   |
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IX{a). IDENTICAL CASES: Has this action been previously filed In this court and dismissed, remanded or closed? ^ NO                                                   D YES
       Ifyes, list case numt)er{s):                                                                                                                —


IX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case?                                     • NO               13 YES

        If yes, list case number(s):        CV 08-7065 PA (JWJx)
  Civil cases are deemed related if a previously filed case and the present case:

  (Check all boxes that apply) |3 A. Arise from the same or closely related transactions, happenings, or events; or
                                  •         B. Call for detemiinatlon of the same orsubstantially related orsimilar questions oflaw and fact; or
                                  •         C. For other reasons would entail substantial duplication oflabor if heard by different judges; or
                                  n D. Involve the same patent, tra^rqark or copyright, and one of the factors identified above in a,bor calso is present.

X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                                                                                           DATE: April 28. 2014
                                                        Kevin
Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover S                              \i tioncontained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This fomn, approved by theJudicial Conf^nce )fthe United States in September 1974, is required pursuantto Local Rule 3-1 is notfiled
but is used by the Clerk of the Court for the purpose of statistics, venue and            ing the civildocket sheet. (For more detailed instructions, see separate instructions sheet).

Key to Statistical codes relating to Social Security Cases:
      Nature of Suit Code       Abbreviation                       Substantive Statement of Cause of Action
                                                        All claimsfor health insurancebenefits(Medicare) under Title 18, PartA,ofthe Social Security Act, as amended. Also,
        861                        HIA                 include claims byhospitals, skilled nursing facilities, etc.,forcertification as providers ofservices under the program.
                                                        (42U.S.C.1935FF(b))

        862                        BL                  All claims for "Black Lung" benefits under Title 4, PartB, oftheFederal Coal Mine Health andSafety Act of1969. (30 U.S.C.
                                                        923)
                                                        All claims filed byinsured workers for disability insurance benefits under Title 2 oftheSocial Security Act, as amended; plus
        863                           DIWC              all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                        All claims filed for widows or widowers insurance benefits based on disability under Title2 of the Social SecurityAct,as
        863                           DIWW              amended. (42 U.S.C. 405 (g))

        864                           SSID              All claims for supplemental security income payments basedupon disability filed under Title 16ofthe Social Security Act, as
                                                        amended.


        865                           RSI               All claims forretirement (old age) and survivors benefits underTitle 2 ofthe Social Security Act, as amended.
                                                        (42 U.S.C. 405(g))




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